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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  LEXINGTON DIVISION

IN RE:                                                         CASE NO. 19-52190


ROBERT HALL, LLC

DEBTOR

                                        STATUS REPORT

                           *** *** *** *** *** *** *** ***

         Comes Mark T. Miller, Trustee herein and for his response to the Order for status report

and states as follows:

         The Bankruptcy Estate includes real property which is unencumbered. An auction will be

scheduled once it is reasonably safe to do so.



Dated: June 20, 2020                                    Respectfully submitted,


                                                 /s/ Mark T. Miller
                                                 Mark T. Miller, Trustee
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                                                 arthur100@windstream.net
